                                                            F I L E D
Case 21-00041   Doc 1   Filed 03/10/21 Entered 03/10/21 15:24:05 Desc Main
                           Document    Page 1 of 8 UNITED STATES BANKRUPTCY COURT

                                                  NORTHERN DISTRICT OF ILLINOIS
                                                           MAR 10, 2021

                                                   JEFFREY P. ALLSTEADT, CLERK
Case 21-00041   Doc 1   Filed 03/10/21 Entered 03/10/21 15:24:05   Desc Main
                           Document    Page 2 of 8
                                                           F I L E D
Case 21-00041   Doc 1   Filed 03/10/21 Entered 03/10/21 15:24:05 Desc Main
                           Document    Page 3 of 8 UNITED STATES BANKRUPTCY COURT

                                                 NORTHERN DISTRICT OF ILLINOIS
                                                          MAR 10, 2021

                                                  JEFFREY P. ALLSTEADT, CLERK
Case 21-00041   Doc 1   Filed 03/10/21 Entered 03/10/21 15:24:05   Desc Main
                           Document    Page 4 of 8
Case 21-00041   Doc 1   Filed 03/10/21 Entered 03/10/21 15:24:05   Desc Main
                           Document    Page 5 of 8
Case 21-00041   Doc 1   Filed 03/10/21 Entered 03/10/21 15:24:05   Desc Main
                           Document    Page 6 of 8
Case 21-00041   Doc 1   Filed 03/10/21 Entered 03/10/21 15:24:05   Desc Main
                           Document    Page 7 of 8
Case 21-00041   Doc 1   Filed 03/10/21 Entered 03/10/21 15:24:05   Desc Main
                           Document    Page 8 of 8
